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                   EXHIBIT H
                        Case 1:20-cv-01238-LY Document 6-8 Filed 12/29/20 Page 2 of 4
   .,047'"ant.,,,    UNITED STATES PATENT AND TRADEMARK OFFICE
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    APPLICATION NO.             FILING DATE           FIRST NAMED INVENTOR      ATTORNEY DOCKET NO.       CONFIRMATION NO.

        13/691,805              12/02/2012                Neal Solomon                                            6244


         103468          7590            03/22/2019
                                                                                                   EXAMINER
        Neal Solomon
        P.O. Box 21297
        Oakland, CA 94620
                                                                                       ART UNIT               PAPER NUMBER

                                                                                         2661


                                                                                      MAIL DATE             DELIVERY MODE

                                                                                      03/22/2019                 PAPER



Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.




PTOL-90A (Rev. 04/07)
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 In re Application of
 Solomon, Neal
 Application No. 13/691,805                            DECISION ON PETITION
 Filed: December 02, 2012
 For: DIGITAL IMAGING SYSTEM FOR
 CORRECTING VIDEO IMAGE
 ABERRATIONS


This is a decision on the petition under 37 CFR 1.182, filed February 11, 2019, to expedite
consideration of the petition under the unintentional provisions of 37 CFR 1.137(b), filed
February 11, 2019 and supplemented on February 28, 2019, which is being treated as a petition
under the unintentional provisions of 37 CFR 1.137(a), to revive the above-identified
application. The requisite $200 petition fee to expedite consideration has been received.

The petition under 37 CFR 1.182 is GRANTED.

The petition under 37 CFR 1.137(a) is GRANTED.

The application became abandoned for failure to reply in a timely manner to the Notice to File
Missing Parts of Nonprovisional Application (Notice), mailed January 03, 2013. The Notice set
a period for reply of two (2) months from the mail date of the Notice. No extensions of time
under the provisions of 37 CFR 1.136(a) were obtained. Accordingly, the application became
abandoned by operation of law on March 04, 2013. A courtesy Notice of Abandonment was
mailed on September 06, 2013.

The petition satisfies the requirements of 37 CFR 1.137(a) in that petitioner has supplied (1) the
reply in the form of the basic filing fee of $150, the search fee of $330, the examination fee of
$380, the surcharge fee $80, (2) the petition fee of $1,000 and (3) a proper statement of
unintentional delay.

37 CFR 1.137(b)(4) requires a statement that the entire delay in filing the required reply from the
due date for the reply until the filing of a grantable petition pursuant to 37 CFR 1.137(a) was
unintentional. Since the statement appearing in the petition varies from the language required by
37 CFR 1.137(b)(4), the statement is being construed as the required statement. Petitioner must
notify the Office if this is not a correct reading of the statement appearing in the petition.
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This application has been abandoned for an extended period of time. The U.S. Patent and
Trademark Office is relying on petitioner's duty of candor and good faith and accepting the
statement that "the entire delay in filing the required reply from the due date for the reply until
the filing of a grantable petition pursuant to 37 CFR 1.137 was unintentional." See Changes to
Representation of Others Before the United States Patent and Trademark Office, 73 Fed. Reg.
47650 (August 14, 2008), 1334 Off. Gaz. Pat. Office 338 (September 9, 2008) (applicant
obligated under 37 CFR 11.18 to inquire into the underlying facts and circumstances when
providing the statement required by 37 CFR 1.137 to the U.S. Patent and Trademark Office).

This application is being referred to the Office of Patent Application Processing (OPAP) for
further pre-examination processing in the normal course of business on the reply received
February 11, 2019 and February 28, 2019.

Telephone inquiries concerning this decision should be directed to Jonya Smalls, Paralegal
Specialist at (571) 272-1619.




/JONYA SMALLS/
Jonya Smalls
Paralegal Specialist, OPET
